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Bertucci's Restaurants, LLC         Bel Air South Commercial LLC           Canton R2G Owner LLC
4700 Millenia Blvd., Ste. 400       2700 Philadelphia Road                 PO Box 411261
Orlando, FL 32839                   Edgewood, MD 21040-1120                Boston, MA 02241-1261




R.Scott Shuker, Esq                 Bertucci's Holding, LLC                Centercorp Swampscott Realty
Shuker & Dorris, P.A.               4700 Millenia Blvd., Ste. 400          600 Loring Ave
121 S. Orange Avenue                Orlando, FL 32839                      Salem, MA 01970
Suite 1120
Orlando, FL 32801

153 W Hancock St Associates         Bertucci's Restaurants (B-A)           Christiana Town Center LLC
c/o Radhey Khanna                   12 Bel Air S. Parkway                  PO Box 7189
80 Nashus Rd                        Bel Air, MD 21015                      Wilmington, DE 19803
Londerry, NH 03053



1775 Mass Ave, LLC                  Bertucci's Restaurants (CO)            CIL Walkers LLC
c/o Concord Prop. Mgmt, Inc         9081 Snowden River Pkwy                c/o Bank of America, N.A.
1 Main Street                       Columbia, MD 21044                     PO Box 105576
Concord, MA 01742                                                          Atlanta, GA 30348



523 Restaurant, L.P.                Bertucci's Restaurants (WM)            Commerce Way Development
c/o Penn Real Est Group Inc         8130 Corporate Place                   11 Poppasquash Rd
620 Righters Ferry Road             Nottingham, MD 21236                   Bristol, RI 02809
Bala Cynwyd, PA 19004



629 Cross Keys Limited Liab.        Bertucci’s Restaurants (BAL)           Concord Retail Partners LP
1222 Jennifer Ln                    1818 York Road                         Brandolini Property Mgmt
Manahawkin, NJ 08050                Lutherville Timonium, MD 21093         PO Box 4711
                                                                           Lancaster, PA 17601



805 Main St LLC                     Best Petroleum LLC                     Connecticut Dept of Revenue
c/o The Senne Company               Country Manor Norwood Trust            PO Box 5089
One Lewis Wharf                     40 Grove St., Unit 430                 Hartford, CT 06102
Boston, MA 02110                    Wellesley, MA 02482



AFA Protective Systems, Inc.        Buncrana                               Corporate Service Company
155 Michael Drive                   275 Mishawum Road                      P.O. Box 2576
Syosset, NY 11791                   Woburn, MA 01801                       Springfield, IL 62708




Avon Marketplace Investors          C.H. ROBINSON                          CSC
PO Box 783522, Lockbox #3522        Robinson Fresh                         801 Adlai Stevenson Drive
Philadelphia, PA 19178-3522         14701 Charlesto RD, Ste 1400           Springfield, IL 62703
                                    Eden Prairie, MN 55347
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D&H 402A Pad Partnership TS         Joseph Gaied                            Mayflower Emerald Square LLC
c/o Caron & Bletzer                 LMC Realty Trust                        Emerald Square
PO Box 969                          PO Box 522                              14190 Collections Center Dr
Kingston, NH 03848                  Ashland, MA 01721                       Chicago, IL 60693



Delaware Div of Revenue             Knapp Foods Inc                         MEDFORD WELL
PO Box 2340                         PO Box 396                              P.O. BOX 961
Wilmington, DE 19899                Natick, MA 01760                        WORCESTER, MA 01613-0961




F.A Associates                      Lincoln Plaza Assoc                     MNH Mall, LLC
T/A Concord Gallery                 PO Box 829424                           Mall of New Hamphire
PO Box 7189                         Philadelphia, PA 19182-9424             14184 Collections Center Dr
Wilmington, DE 19803                                                        Chicago, IL 60693



Framingham - 150 FR                 M3 Real Estate Holdings, LLC            MOBO Systems
Realty Limited Partnership          c/o Veritas Real Estate Serv            285 Fulton St
1051 Reservoir Ave                  701 Route 73 North, Suite 4             Floor 82
Cranston, RI 02910                  Marlton, NJ 08053                       New York, NY 18002



Frontier Dr Metro Center LP         Mall at Rockingham LLC                  Montgomery Mall Realty
Lockbox #283523                     Mall at Rockingham Park                 1010 Northern Blvd Suite 212
PO Box 713523                       14165 Collections Center Dr             Great Neck, NY 11021
Philadelphia, PA 19171-3523         Chicago, IL 60693



Frontier Drive Metro Center         Mall at Solomon Pond, LLC               NC Read Beam LLC
Lockbox #283523                     14199 Collections Center Dr             c/o North Colony Asset Mgmt
PO Box 713523                       Chicago, IL 60693                       625 Mt. Auburn St.
Philadelphia, PA 19171-3523                                                 Cambridge, MA 02138



Griswold Mall Associates            Marc Capital Corp                       NCR Corporation
1000 Huntington Turnpike            c/o Nancy Anderson                      P.O. Box 198755
Bridgeport, CT 06610, CT 06610      1713 Montaine Drive East                Atlanta, GA 30384-8755
                                    Golden, CO 80401



Hing Wah Realty Trust               Maryland Revenue Admin Div.             New Century Assoc. Group
c/o Howard Lee, Trustee             Taxpayer Service Division               PO Box 62694
67 Beach St.                        110 Carroll Street                      Baltimore, MD 21264-2684
Boston, MA 02111                    Annapolis, MD 21411



Internal Revenue Service            Massachusetts Dept of Rev               New Century Assoc. Group, LP
1160 W. 1200 S. Street              PO Box 7089                             2010 County Line Road
Ogden, UT 84201                     Boston, MA 02241                        Huntingdon Valley, PA 19006
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New Hampshire DRA                   Rhode Island Div of Taxation          Stonehill 123 LLC
PO Box 1265                         One Capitol Hill                      c/o GJS Management Corp
Concord, NH 03302                   Providence, RI 02908                  858 Washington St, Suite 309
                                                                          Dedham, MA 02026



New Jersey Dept of Treasury         Route 140 School Street LLC           SYSCO Corporation
PO Box 002                          PO Box 847425                         1390 Enclave Parkway
Trenton, NJ 08625                   Boston, MA 02284-7425                 Houston, TX 77077




Orange County Tax Collector         Snowden Holdings LLC                  Thompson's Restaurant, Inc
301 S Robinson Avenue               c/o Adam Schwartz                     PO Box 155
Orlando, FL 32801                   15942 Shady Grove Rd                  N. Andover, MA 01845-0155
                                    Gaithersburg, MD 20877



PamJam Realty LLC                   Somerset Waltham LLC                  TriMark United East
276 W. Main St., Suite 13A          465 Waverly Oaks Rd Ste 500           PO Box 845377
Northborough, MA 01532              Waltham, MA 02452                     Boston, MA 02284-5377




PB Restaurants, LLC                 South Street Holdings LLC             US MJW East Gate I, LLC
11 West 42nd Street                 c/o The Grossman Companies            c/o M&J Wilkow Properties
Orlando, FL 32839                   859 Willard St., Suite 501            20 S. Clark St., Suite 3000
                                    Quincy, MA 02169                      Chicago, IL 60603



Pennsylvania Dept of Revenue        Springfield Square Cent LP            Virginia Taxation Dept.
Strawberry Square                   c/o Continental Dev. LLC              Office of Customer Services
9th Floor                           1604 Walnut St - 5th Floor            PO Box 1115
Harrisburg, PA 17128                Philadelphia, PA 19103                Richmond, VA 23218



PHL Holdings, LLC                   Springfield Square Central            Westbrook Village Realty Tr.
4700 Millenia Blvd., Ste 400        c/o Continental Developers            PO Box 67396
Orlando, FL 32839                   1604 Walnut St - 5th Floor            Chestnut Hill, MA 02467
                                    Philadelphia, PA 19103



PR Plymouth Meeting L.P.            St. John Properties, Inc - B          Wildwood Est. of Braintree
PO Box 73312                        Accounts Receivable                   PO Box 859059
Cleveland, OH 44193                 PO Box 62784                          Braintree, MA 02185
                                    Baltimore, MD 21264-2784



Reward Network                      STA Wite Inc                          Winkal Holdings, LLC
540 W Madison St                    15 Garfield Ave.                      Attn: Tina Mihzir
Suite 2400                          Somerville, MA 02145                  10 Rye Ridge Plaza, Ste 200
Chicago, IL 60661                                                         Rye Brook, NY 10573
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WSM Hingham Properties LLC
PO Box 3274
Boston, MA 02241-3274
